Case 3:13-cv-00331-GPC-KSC Document 173-6 Filed 07/06/17 PageID.9496 Page 1 of 32




                      EXHIBIT B
                  D.F. et al., v. Sikorsky Aircraft Corporation, et al.
                      USDC Case No.: 13:cv-00331-GPC-KSC
                 (Exhibits to Declaration of Marshall J. Shepardson
             In Support of Opposition to Motion for Summary Judgment )
Case 3:13-cv-00331-GPC-KSC Document 173-6 Filed 07/06/17 PageID.9497 Page 2 of 32

                    JOHN DAVID WAKEFIELD - 12/07/2016                      ·

   ·1·   · · · · · · ·UNITED SATES DISTRICT COURT
   · ·   · · · · · ·SOUTHERN DISTRICT OF CALIFORNIA
   ·2
   · ·   ·_____________________________
   ·3·   ·DOMINIC FONTALVO, a minor,· ·)Case No.: 3:13-cv-00331-
   · ·   ·by and through his Guardian· )GPC-KSC
   ·4·   ·Ad Litem, NORMA FONTALVO,· · )Judge: Hon.
   · ·   ·individually and as successor)Gonzalo P. Curiel
   ·5·   ·in interest to Alexis· · · · )
   · ·   ·Fontalvo, deceased,· · · · · )
   ·6·   · · · · · · · · · · · · · · · )
   · ·   · · · · · · · · · ·Plaintiff, )
   ·7·   · · · · · · · · · · · · · · · )
   · ·   ·v.· · · · · · · · · · · · · ·)
   ·8·   · · · · · · · · · · · · · · · )
   · ·   ·SIKORSKY AIRCRAFT· · · · · · )
   ·9·   ·CORPORATION; SIKORSKY SUPPORT)
   · ·   ·SERVICES, INC.; et al.,· · · )
   10·   · · · · · · · · · · · · · · · )
   · ·   · · · · · · · · · ·Defendants.)
   11·   · · · · · · · · · · · · · · · )
   · ·   ·_____________________________)
   12

   13· · · · · · DEPOSITION OF JOHN DAVID WAKEFIELD

   14

   15· ·DATE:· · · · · ·December 7, 2016

   16· ·TIME:· · · · · ·9:25 a.m.

   17· ·HELD AT:· · · · Homewood Suites by Hilton
   · · · · · · · · · · ·6905 Main Street
   18· · · · · · · · · ·Stratford, Connecticut

   19· · · ·By:· · · · ·Sarah J. Miner, LSR #238

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   ·1· ·can ask him about facts, but I don't think it is even                        09:37
   ·2· ·fair, and I would ask him not to respond to that                             09:37
   ·3· ·question because it basically is a legal matter and he                       09:37
   ·4· ·is not a legal expert.· And even if he were, he is not                       09:37
   ·5· ·here that role.· Okay?                                                       09:37
   ·6· ·BY MR. SHEPARDSON:                                                           09:38
   ·7· · · · Q. That being said, do you have awareness of any                        09:38
   ·8· ·involvement of the U.S. Government in the design                             09:38
   ·9· ·process for the CH-53E aircraft?                                             09:38
   10· · · · A. Yes, I do.· The government's role in the                             09:38
   11· ·design process is what you asked; is that correct?                           09:38
   12· · · · Q. Yes.                                                                 09:38
   13· · · · A. Yes.                                                                 09:38
   14· · · · Q. Thank you.· Backing up a little bit.· What                           09:38
   15· ·was your title at Sikorsky when you left the company                         09:38
   16· ·in March of 2006?                                                            09:38
   17· · · · A. I was the vice president and chief safety                            09:38
   18· ·officer for Sikorsky Aircraft Corporation.                                   09:39
   19· · · · Q. Have you ever been deposed before?                                   09:39
   20· · · · A. One time.                                                            09:39
   21· · · · Q. And approximately when did that occur?                               09:39
   22· · · · A. Either 2005 or 2006.· I don't remember                               09:39
   23· ·exactly.                                                                     09:39
   24· · · · Q. And was that -- were you a party to a lawsuit                        09:39
   25· ·on that occasion?


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                    JOHN DAVID WAKEFIELD - 12/07/2016               Page 13

   ·1· · · · A. Was John Wakefield a party to that lawsuit?                          09:39
   ·2· · · · Q. Correct.                                                             09:39
   ·3· · · · A. No.                                                                  09:39
   ·4· · · · Q. Were you deposed on that occasion in your                            09:39
   ·5· ·capacity as a Sikorsky representative?                                       09:40
   ·6· · · · · ·MR. HUNT:· You mean a 30(b)(6) witness or as                         09:40
   ·7· ·-- because he was -- while he was an employee of                             09:40
   ·8· ·Sikorsky, if he knows.                                                       09:40
   ·9· ·BY MR. SHEPARDSON:                                                           09:40
   10· · · · Q. Let me rephrase.· Was Sikorsky a party to                            09:40
   11· ·that lawsuit?                                                                09:40
   12· · · · A. Sikorsky Aircraft was, yes.                                          09:40
   13· · · · Q. Okay.· Were they a defendant in that lawsuit?                        09:40
   14· · · · A. I believe so, yes.                                                   09:40
   15· · · · Q. Okay.· And were you deposed as a witness with                        09:40
   16· ·respect to your duties at Sikorsky Corporation?                              09:40
   17· · · · A. I was deposed -- it is hard to say.· I was                           09:40
   18· ·not deposed as a safety officer.· I was deposed                              09:40
   19· ·because of my duty previous as a program management,                         09:40
   20· ·program manager and in charge of H-53 programs at                            09:40
   21· ·Sikorsky.                                                                    09:40
   22· · · · Q. What was your tenure as program manager for                          09:41
   23· ·the 53 programs at Sikorsky?                                                 09:41
   24· · · · A. I first entered program management at                                09:41
   25· ·Sikorsky Aircraft in 1988, and continued program


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                    JOHN DAVID WAKEFIELD - 12/07/2016               Page 14

   ·1· ·management for -- and I would have to get my bio to                          09:41
   ·2· ·give you exact dates.· I can give you general dates,                         09:41
   ·3· ·but I think generally for about eight years, until --                        09:41
   ·4· ·10 years, 1998.· I spent two years as a -- the                               09:41
   ·5· ·director of international programs, which is more                            09:41
   ·6· ·business development than it was program management.                         09:41
   ·7· ·And then in 2000, I returned to program management and                       09:41
   ·8· ·was there until I was promoted to my safety position                         09:41
   ·9· ·or the vice president of safety in 2003.                                     09:42
   10· · · · Q. During your second stint in program                                  09:42
   11· ·management, was that also with respect to the 53                             09:42
   12· ·programs?                                                                    09:42
   13· · · · A. It was.· It included the 53 program, but it                          09:42
   14· ·also included all USN -- Navy and International Navy                         09:42
   15· ·programs.· Just a small clarification.· Within that                          09:42
   16· ·period of time, there was a division of us.· So there                        09:42
   17· ·were two jobs that I held in that three-year period or                       09:42
   18· ·four-year period.· One was vice president of the Navy                        09:42
   19· ·programs and then program manager of the 53 programs.                        09:43
   20· ·So again, you would have to get my bio to get exactly                        09:43
   21· ·when those dates are, should you like to.                                    09:43
   22· · · · Q. Do you have a copy of your curriculum vitae                          09:43
   23· ·or your bio?                                                                 09:43
   24· · · · A. I do not have it with me.· I do have one, but                        09:43
   25· ·I do not have it with me.


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                    JOHN DAVID WAKEFIELD - 12/07/2016               Page 26

   ·1· ·163078; is that correct?                                                     10:02
   ·2· · · · · ·MR. HUNT:· 77.                                                       10:02
   ·3· · · · · ·THE WITNESS:· 163077, which was delivered                            10:02
   ·4· ·September of 1990.· And it was a Lot 12 aircraft, but                        10:02
   ·5· ·it was still purchased under the contract and the                            10:02
   ·6· ·detailed specification called the -9 spec.                                   10:03
   ·7· ·BY MR. SHEPARDSON:                                                           10:03
   ·8· · · · Q. So there was not then a detailed                                     10:03
   ·9· ·specification with the -12 suffix?                                           10:03
   10· · · · A. There was not.· Well, let's -- let me back up                        10:03
   11· ·and say that.· There might be.· I don't know if there                        10:03
   12· ·actually is or not.· I do know through -- when I was                         10:03
   13· ·running the program through Lot 13 and 14, there are                         10:03
   14· ·-10 specifications.· There probably is a -11 and a                           10:03
   15· ·-12, but it relates to other aircraft.                                       10:03
   16· · · · Q. So in that case, the lot number wouldn't                             10:03
   17· ·necessarily correspond with the suffix?                                      10:03
   18· · · · A. Well, it did up until the time that this                             10:03
   19· ·specification was used for a four year, multi-year                           10:03
   20· ·procurement.· It was in place for all of those                               10:03
   21· ·aircraft, all 56 aircraft.· It and its corresponding                         10:03
   22· ·specification for the MH-53E which was purchased under                       10:03
   23· ·the same contract.                                                           10:04
   24· · · · Q. Okay.· While we are looking at this, I am                            10:04
   25· ·just going to go through this note-by-note.


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                    JOHN DAVID WAKEFIELD - 12/07/2016               Page 82

   ·1· · · · A. I can speculate.                                                     12:21
   ·2· · · · Q. Without speculating, do you know?                                    12:21
   ·3· · · · A. No, I was not there at that time.· I don't                           12:21
   ·4· ·know.· The government directed it and put it in the                          12:21
   ·5· ·specification for us to do.                                                  12:21
   ·6· · · · Q. Did you see any correspondence between the                           12:21
   ·7· ·government and Sikorsky concerning that specific                             12:21
   ·8· ·change?                                                                      12:21
   ·9· · · · A. I did not.                                                           12:22
   10· · · · Q. Did you see any correspondence between the                           12:22
   11· ·U.S. Government and Sikorsky concerning the                                  12:22
   12· ·development of the interlock system of the landing                           12:22
   13· ·gear of the CH-53E?                                                          12:23
   14· · · · · ·MR. HUNT:· Vague.                                                    12:23
   15· · · · · ·THE WITNESS:· The specific answer is no.                             12:23
   16· ·However, the reference -- the direction was to utilize                       12:23
   17· ·the RH-53 or the CH-53D landing gear.                                        12:23
   18· · · · · ·MR. SHEPARDSON:· I am probably going to have                         12:23
   19· ·something else, but I am going to pass the questioning                       12:23
   20· ·to Ms. Savitt for now and then look over my notes and                        12:23
   21· ·hopefully finish up soon.                                                    12:23
   22· · · · · · · · · · CROSS-EXAMINATION                                           12:23
   23· ·BY MS. SAVITT:                                                               12:23
   24· · · · Q. I only have a few questions, I think.                                12:23
   25· · · · A. Yes, ma'am.


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                    JOHN DAVID WAKEFIELD - 12/07/2016               Page 84

   ·1· ·specification.· It would be a government change.                             12:26
   ·2· · · · Q. Do you know if Sikorsky purchased Kapton --                          12:26
   ·3· ·take that back.                                                              12:26
   ·4· · · · · ·We have been using the term Kapton wiring.                           12:26
   ·5· ·Do you know if, in fact, Kapton is an insulation that                        12:26
   ·6· ·is part of wiring?                                                           12:26
   ·7· · · · A. I did not know that, although there is no                            12:26
   ·8· ·reason I should.· It is identified a type of wire                            12:26
   ·9· ·coating.· It is generally referred to as Kapton wire                         12:26
   10· ·in my vernacular of a particular kind of wire.· And my                       12:27
   11· ·definition of wire would include coatings that are on                        12:27
   12· ·it.                                                                          12:27
   13· · · · Q. You mentioned earlier SSWG, I am sorry, the                          12:27
   14· ·safety --                                                                    12:27
   15· · · · A. System safety working groups.                                        12:27
   16· · · · Q. And you attended a number of meetings of                             12:27
   17· ·systems safety working groups while you were program                         12:27
   18· ·manager?                                                                     12:27
   19· · · · A. I generally did not attend.· I generally                             12:27
   20· ·received the results and minutes and discussions and I                       12:27
   21· ·had a person assigned as my system safety person to                          12:27
   22· ·attend those meetings.                                                       12:27
   23· · · · Q. What was that person's name, or did it change                        12:27
   24· ·over the years?                                                              12:27
   25· · · · A. It changed over the years.


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                    JOHN DAVID WAKEFIELD - 12/07/2016               Page 85

   ·1· · · · Q. As part of your job as program manager, do                           12:28
   ·2· ·you recall seeing documents of subsystem design                              12:28
   ·3· ·reports for different parts of the CH-53E?                                   12:28
   ·4· · · · A. Subsystem design reports, yes, ma'am.                                12:28
   ·5· · · · Q. And what does that mean to you?· What is a                           12:28
   ·6· ·subsystem design report?                                                     12:28
   ·7· · · · A. It is, in fact, a description of the                                 12:28
   ·8· ·subsystem that is in each of those paragraphs and                            12:28
   ·9· ·describes the system itself.                                                 12:28
   10· · · · Q. And would wiring be a subsystem?· Would that                         12:28
   11· ·be considered one?                                                           12:28
   12· · · · A. I don't know how to answer that.· I am not                           12:28
   13· ·sure.· I would have to go look at the document.· The                         12:28
   14· ·subsystem design report is generally a -- in my mind,                        12:29
   15· ·generally a system related item, as in this case the                         12:29
   16· ·landing gear system, not necessarily the individual                          12:29
   17· ·components.· So I don't know how to answer that                              12:29
   18· ·correctly.                                                                   12:29
   19· · · · Q. Okay.                                                                12:29
   20· · · · · ·MS. SAVITT:· I have no further questions.                            12:29
   21· · · · · ·MR. SHEPARDSON:· Take another 10-minute                              12:29
   22· ·break, and I will look over my notes.                                        12:29
   23· · · · · ·MR. HUNT:· All right.                                                12:29
   24· · · · · ·THE VIDEOGRAPHER:· Going off the record at                           12:29
   25· ·12:29.


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   ·1· · · · · ·(Recess taken from 12:29 p.m. to 12:40 p.m.)                          12:41
   ·2· · · · · ·THE VIDEOGRAPHER:· We are on the record at                            12:41
   ·3· ·12:40.                                                                        12:41
   ·4· · · · · · · · · ·REDIRECT EXAMINATION                                          12:41
   ·5· ·BY MR. SHEPARDSON:                                                            12:41
   ·6· · · · Q. Mr. Wakefield, besides the documents that we                          12:41
   ·7· ·have already discussed today, and there were many, but                        12:41
   ·8· ·are there any documents that we haven't discussed                             12:41
   ·9· ·today that you are aware of that reflect or                                   12:41
   10· ·substantiate government participation in the design of                        12:41
   11· ·the landing gear of the CH-53E?                                               12:41
   12· · · · · ·MR. HUNT:· I will repeat, without repeating                           12:41
   13· ·word for word the objection I made at the beginning of                        12:41
   14· ·this, that if you are basically asking this gentleman                         12:41
   15· ·to give you the details of our government contract of                         12:42
   16· ·defense motion, which we are going to bring someday,                          12:42
   17· ·if there is another way of asking.· I object to that.                         12:42
   18· ·There is no way anybody sitting here could do that                            12:42
   19· ·task.· However, I will allow him to answer the                                12:42
   20· ·question to the best of his ability.                                          12:42
   21· · · · · ·THE WITNESS:· Okay.· Can you read that back                           12:42
   22· ·for me?                                                                       12:42
   23· · · · · ·(Requested portion of testimony read.)                                12:42
   24· · · · · ·MR. HUNT:· In addition, vague, overbroad.                             12:42
   25· · · · · ·THE WITNESS:· I would have to say none that I


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                    JOHN DAVID WAKEFIELD - 12/07/2016                Page 87

   ·1· ·am aware of at the moment.                                                    12:43
   ·2· ·BY MR. SHEPARDSON:                                                            12:43
   ·3· · · · Q. Besides the documents that we have already                            12:43
   ·4· ·discussed today, are you aware of any documents that                          12:43
   ·5· ·reflect or substantiate government participation in                           12:43
   ·6· ·the design of the wiring system of the CH-53E?                                12:43
   ·7· · · · · ·MR. HUNT:· Same objections.                                           12:43
   ·8· · · · · ·THE WITNESS:· Again, as far as I know, there                          12:43
   ·9· ·are -- I don't know of any others personally of any                           12:43
   10· ·other documents.· I just -- I am sure there are.              I               12:43
   11· ·just have no idea.· You have to go way back to find                           12:43
   12· ·those.                                                                        12:43
   13· ·BY MR. SHEPARDSON:                                                            12:43
   14· · · · Q. Besides what you testified was the desire of                          12:44
   15· ·the government to have the CH-53E generally conform to                        12:44
   16· ·the specifications of the 53D series, are you aware of                        12:44
   17· ·any other facts supporting government participation in                        12:44
   18· ·the design of the CH-53E?                                                     12:44
   19· · · · · ·MR. HUNT:· Same objections.                                           12:44
   20· · · · · ·THE WITNESS:· In the development of the 53E,                          12:44
   21· ·the government is very specific on what to start with,                        12:44
   22· ·which is the 53 two-engine D, and what to change.· And                        12:44
   23· ·those documents are the ones we have discussed.                               12:45
   24· ·BY MR. SHEPARDSON:                                                            12:45
   25· · · · Q. Are you aware of any facts reflecting


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   ·1· ·government participation in the design of the 53D                             12:45
   ·2· ·landing gear?                                                                 12:45
   ·3· · · · · ·MR. HUNT:· 53 what?                                                   12:45
   ·4· ·BY MR. SHEPARDSON:                                                            12:45
   ·5· · · · Q. D, Delta.                                                             12:45
   ·6· · · · A. Way before my time, no.                                               12:45
   ·7· · · · Q. Are you aware of any facts supporting                                 12:45
   ·8· ·government participation in the wiring system of the                          12:45
   ·9· ·53 Delta?                                                                     12:45
   10· · · · · ·MR. HUNT:· Same objections.                                           12:45
   11· · · · · ·THE WITNESS:· I am not of that, but I am                              12:45
   12· ·very, very familiar with how the government asked for,                        12:45
   13· ·procures, designs, builds and provides to the                                 12:45
   14· ·contractor the specifications to build what they want.                        12:46
   15· ·The process I am very familiar with.· Individual                              12:46
   16· ·details, I am not.                                                            12:46
   17· ·BY MR. SHEPARDSON:                                                            12:46
   18· · · · Q. What is that process?                                                 12:46
   19· · · · A. Okay.· It is a fairly long answer with what                           12:46
   20· ·is the process.· The process of procuring from the                            12:46
   21· ·Naval Air Systems Command, thing starts very early                            12:46
   22· ·with the military service.· It generally is the                               12:46
   23· ·military service that has a requirement for which that                        12:46
   24· ·requirement -- and when I say "requirement," I am                             12:46
   25· ·talking about mission requirement, not design


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                        JOHN WAKEFIELD - 05/09/2017                        ·

   ·1· · · · · · · ·UNITED STATES DISTRICT COURT

   ·2· · · · · · · SOUTHERN DISTRICT OF CALIFORNIA

   ·3

   ·4

   ·5·   ·DOMINIC FONTALVO, a minor,· )Case No.
   · ·   ·by and through his Guardian )3:13-cv-00331-GPC-KSC
   ·6·   ·Ad Litem,TASHINA AMADOR,· · )
   · ·   ·individually and as a· · · ·)
   ·7·   ·successor in interest to· · )
   · ·   ·Alexis Fontalvo, deceased,· )
   ·8·   ·and TANIKA LONG, a minor,· ·)
   · ·   ·by and through her Guardian )
   ·9·   ·Ad Litem, TASHINA AMADOR,· ·)
   · ·   · · · · · · · · · · · · · · ·)
   10·   · · · · · · Plaintiff,· · · ·)
   · ·   · · · · · · · · · · · · · · ·)
   11·   ·v.· · · · · · · · · · · · · )
   · ·   · · · · · · · · · · · · · · ·)
   12·   ·SIKORSKY AIRCRAFT· · · · · ·)
   · ·   ·CORPORATION; SIKORSKY· · · ·)
   13·   ·SUPPORT SERVICES, INC.;· · ·)
   · ·   ·UNITED TECHNOLOGIES· · · · ·)
   14·   ·CORPORATION, et al.,· · · · )
   · ·   · · · · · · · · · · · · · · ·)
   15·   · · · · · ·Defendants.· · · ·)VOLUME 2
   · ·   ·____________________________)Pages 102 - 284
   16

   17· ·DEPOSITION OF:

   18· · · · · · · · · ·JOHN WAKEFIELD

   19· · · · · · · · · ·TUESDAY, MAY 9, 2017

   20· · · · · · · · · ·10:19 A.M.

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   24· ·REPORTED BY:· · c. jane harman

   25· · · · · · · · · ·CSR No. 5266


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   ·1· · · · A.· Okay.
   ·2· · · · Q.· It's your file.
   ·3· · · · A.· (Correcting document.)
   ·4· · · · Q.· Okay.· So we were discussing item 2 in your
   ·5· ·executive summary which corresponds to Appendix B
   ·6· ·and also corresponds to tab 2 in your indexed
   ·7· ·reference binders here.
   ·8· · · · · · So I see that item G -- or reference G, I
   ·9· ·should say, is SD24J, as in Juliet.
   10· · · · · · What is SD24J?
   11· · · · A.· As it says there, it is titled "The General
   12· ·Design Specification for Design and Construction of
   13· ·Aircraft Weapon Systems, Volume 2, Rotary Wing
   14· ·Aircraft," dated June of 1963.
   15· · · · Q.· Uh-huh.
   16· · · · · · And I see the copy in your binder is not
   17· ·Bates-stamped.· Where did you obtain this document?
   18· · · · A.· I obtained the document from the naval
   19· ·archives.
   20· · · · Q.· And did you have just general clearance to
   21· ·have access to the naval archives?
   22· · · · A.· Anyone can call the naval archives and
   23· ·request information.· It's in the public domain,
   24· ·naval archives.
   25· · · · · · The reason I went to the naval archives,


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   ·1· ·this volume has been updated.· This particular
   ·2· ·specification, government specification, has been
   ·3· ·updated several times.· The 1963 version was not --
   ·4· ·which is referenced in the contract was not readily
   ·5· ·available.
   ·6· · · · Q.· Uh-huh.
   ·7· · · · · · And is that what you did, you called the
   ·8· ·naval archives?
   ·9· · · · A.· I did.
   10· · · · Q.· Whom did you call at the naval archives?
   11· · · · A.· I ... I could get her name, I don't
   12· ·remember it now.
   13· · · · Q.· Do you have a reference to the telephone
   14· ·number that you called somewhere in these materials?
   15· · · · A.· Not in these materials, no.· And I don't
   16· ·remember where it is.
   17· · · · Q.· And how did they transmit this document to
   18· ·you?
   19· · · · A.· Electronically.
   20· · · · Q.· So putting aside the annotated opinions
   21· ·list that we just marked as Exhibit 7, do you refer
   22· ·to specification 24J anywhere in Appendix B of your
   23· ·report?
   24· · · · A.· I do.
   25· · · · Q.· And what page would that be on?


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   ·1· · · · A.· On page eleven at the bottom.
   ·2· · · · Q.· Okay.· So that's a sentence that reads:
   ·3· · · · · · "As an example, as referenced in
   ·4· · · · · · the 53 Echo detailed specification,
   ·5· · · · · · NAVAIR directed compliance with its
   ·6· · · · · · own general specification for design
   ·7· · · · · · and construction of aircraft weapon
   ·8· · · · · · system SD24J."
   ·9· · · · A.· Correct.
   10· · · · Q.· Okay.· So to find out what that's an
   11· ·example of we move up ... what is that an example
   12· ·of?
   13· · · · A.· It is an example from my opinion, which
   14· ·is opinion two, that the Navy personnel, NAVAIR
   15· ·personnel:
   16· · · · · · " ... had full knowledge and
   17· · · · · · compliance and understanding of
   18· · · · · · the design, operation, maintenance
   19· · · · · · and characteristics of the CH-53
   20· · · · · · helicopter."
   21· · · · Q.· Is there anything in the specification
   22· ·SD24J dictating how a landing gear wiring harness is
   23· ·configured?
   24· · · · A.· I am not sure I could answer that without
   25· ·reading each line again specific to that question.


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   ·1· · · · · · There are general guidance not only in
   ·2· ·SD24J and other detailed -- other reference
   ·3· ·specifications for the Navy.· So it may not be
   ·4· ·there, it could be in another Navy specification.
   ·5· · · · Q.· Okay.· So still in Appendix B of your
   ·6· ·report on page twelve, you've got a list of items
   ·7· ·under the heading "Additional Consideration Relating
   ·8· ·to the Contract and Specification Are Listed Below."
   ·9· · · · · · Do you see that?
   10· · · · A.· I do.
   11· · · · Q.· Okay.· So item A there is:
   12· · · · · · "U.S. Navy had its own engineers
   13· · · · · · and routinely reviews and approves
   14· · · · · · even the smallest detail of the
   15· · · · · · design, test and manufacturing
   16· · · · · · process."
   17· · · · · · Is there any evidence in either of these
   18· ·binders that the U.S. Navy engineers reviewed or
   19· ·approved any detail of the landing gear wiring
   20· ·harness of the CH-53E?
   21· · · · A.· There is nothing in those manuals that I --
   22· ·that information that I've provided you.
   23· · · · Q.· Now, you used the term "manual."· I was --
   24· ·I was going to ask you --
   25· · · · A.· I misspoke on manuals.· Those are


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   ·1· ·specifications and reports.
   ·2· · · · Q.· Okay.· What is a manual?
   ·3· · · · A.· In my experience --
   ·4· · · · Q.· Yeah.
   ·5· · · · A.· -- a manual is something that's produced
   ·6· ·relative to aviation manuals are produced by the
   ·7· ·government and delivered to the user at one level or
   ·8· ·the other.
   ·9· · · · Q.· Okay.· And in your capacity working as a
   10· ·program manager within military aviation, did you
   11· ·ever participate in the drafting of a manual?
   12· · · · A.· No, I never did.
   13· · · · Q.· Okay.· And did you ever participate in
   14· ·the contracting for the drafting of a manual?
   15· · · · A.· No.
   16· · · · · · And let me explain.· Manuals are not
   17· ·drafted by Sikorsky Aircraft.· Sikorsky Aircraft
   18· ·provides to the Navy engineering data for which the
   19· ·Navy produces a manual.
   20· · · · Q.· Do you -- is there any documentary evidence
   21· ·in either of these binders that Sikorsky ever
   22· ·provided engineering data to the Navy with respect
   23· ·to the risk of an inadvertent landing gear
   24· ·retraction in the event of a short circuit?
   25· · · · A.· Very specific question.· Can I have that


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   ·1· ·read back?
   ·2· · · · · · MR. SHEPARDSON:· Please.
   ·3· · · · · · (The record was read as follows:
   ·4· · · · · · QUESTION:· Is there any documentary
   ·5· · · · · · evidence in either of these binders
   ·6· · · · · · that Sikorsky ever provided engineering
   ·7· · · · · · data to the Navy with respect to the
   ·8· · · · · · risk of an inadvertent landing gear
   ·9· · · · · · retraction in the event of a short
   10· · · · · · circuit?)
   11· · · · · · THE WITNESS:· There is nothing in those
   12· ·manuals that I have utilized to prepare my opinions.
   13· ·BY MR. SHEPARDSON:
   14· · · · Q.· And again, did you misspeak when you said
   15· ·"manuals," you meant --
   16· · · · A.· I apologize.· It's a -- I did misspeak, so
   17· ·my apologies.· It is information provided.
   18· · · · Q.· Okay.· So going back to the list in
   19· ·Appendix B here, sub letter B is:
   20· · · · · · "U.S. Navy has its own flight
   21· · · · · · worthiness approval authority and
   22· · · · · · determines whether the helicopter
   23· · · · · · is safe for flight and safe for
   24· · · · · · use."
   25· · · · · · MR. HUNT:· Where are you reading from,


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   ·1· ·Marshall?
   ·2· · · · · · MR. SHEPARDSON:· It's sub B on page twelve
   ·3· ·of his report.
   ·4· · · · · · MR. HUNT:· Okay.
   ·5· ·BY MR. SHEPARDSON:
   ·6· · · · Q.· Is there any documentary evidence in either
   ·7· ·of these binders that this flightworthiness approval
   ·8· ·authority was ever given engineering data on the
   ·9· ·landing gear wiring harness of the CH-53 Echo?
   10· · · · A.· Not in the data that you have in front of
   11· ·you.
   12· · · · · · However, general practice from my
   13· ·experience is that the information that the Navy
   14· ·utilizes is reflected in the manual that they come
   15· ·from.· And that may come from engineering reports,
   16· ·which are in those, but I do not remember anything
   17· ·specific about a wiring harness in that.
   18· · · · Q.· Okay.· So going on to item C:
   19· · · · · · "U.S. Navy has its own test pilots
   20· · · · · · and aerospace engineers and conducts
   21· · · · · · its own flight tests and qualification
   22· · · · · · of both development and production
   23· · · · · · helicopters."
   24· · · · · · Is there any documentary evidence in either
   25· ·of these binders that the U.S. Navy's test pilots or


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   ·1· ·aerospace engineers ever contributed to the
   ·2· ·development of the landing gear wiring harness of
   ·3· ·the CH-53 Echo?
   ·4· · · · A.· There is not specific to that.· There is a
   ·5· ·general statement made by a Navy deponent for which
   ·6· ·they have that responsibility for flight tests and
   ·7· ·development and engineering.
   ·8· · · · Q.· When you say "a Navy deponent," do you mean
   ·9· ·a witness who was deposed with respect to this
   10· ·lawsuit?
   11· · · · A.· I do.
   12· · · · Q.· Okay.· Do you remember who that was?
   13· · · · A.· I do.
   14· · · · · · It was Ms. Leigh, L E I G H.
   15· · · · Q.· And --
   16· · · · A.· And also I would add, Mr. Jordan.
   17· · · · Q.· Okay.· And did either Ms. Leigh or
   18· ·Mr. Jordan testify as to any participation by a test
   19· ·pilot or aerospace engineer in the development of
   20· ·the landing gear wiring harness for the CH-53E?
   21· · · · A.· Not that I'm aware of.
   22· · · · · · However, the -- my experience would say --
   23· ·and I have provided at least one piece of paper from
   24· ·the Navy development flight test center where they
   25· ·have looked at flight testing the entire aircraft


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   ·1· ·and provided deficiencies if they found one.
   ·2· · · · · · None were provided on the landing gear or
   ·3· ·its wiring harness that I'm aware of.
   ·4· · · · Q.· So moving on to item D, in italics.
   ·5· · · · · · "U.S. Navy has its own personnel
   ·6· · · · · · assigned to and housed at the
   ·7· · · · · · Sikorsky Corporation facility.
   ·8· · · · · · And this command is now called the
   ·9· · · · · · Defense Contract Management Agency.
   10· · · · · · and at the time of the design and
   11· · · · · · manufacture of the CH-53E helicopter
   12· · · · · · was called NavPro."
   13· · · · · · Was NavPro sort of a portmanteau of naval
   14· ·procurement?
   15· · · · A.· Yes, it was.
   16· · · · · · And they changed their name several times.
   17· ·That means as in "Nav," naval, and "pro" as
   18· ·procurement, yes.
   19· · · · Q.· Okay.· Sometimes Mr. Hunt takes issue with
   20· ·my --
   21· · · · A.· Yeah, I'm not sure I even understand it.
   22· · · · · · MR. HUNT:· I was going to object to the use
   23· ·of French words in this deposition, but I'll let it
   24· ·go.
   25· ·///· · · · · · · · · · · · · · · · · · · · · · ///


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   ·1· ·BY MR. SHEPARDSON:
   ·2· · · · Q.· So -- and you say that:
   ·3· · · · · · "NavPro comprises highly-trained
   ·4· · · · · · engineers, inspectors, business
   ·5· · · · · · managers, contract specialists and
   ·6· · · · · · program managers."
   ·7· · · · · · Were you ever technically part of NavPro?
   ·8· · · · A.· I was not.
   ·9· · · · Q.· Okay.· Is there any documentary evidence
   10· ·in either of these binders that NavPro ever
   11· ·participated in the development of the landing gear
   12· ·wiring harness for the CH-53 Echo?
   13· · · · A.· Not in those documents.
   14· · · · Q.· Item E is:
   15· · · · · · "U.S. Navy is the only authority
   16· · · · · · that can make changes to specification
   17· · · · · · or changes to the aircraft, including
   18· · · · · · approval of all ECPs."
   19· · · · · · What does "ECP" stand for?
   20· · · · A.· Engineering change proposals.
   21· · · · Q.· What is an engineering change proposal, in
   22· ·general?
   23· · · · A.· In general, it is a change to the detailed
   24· ·specification that changes some aspect of the
   25· ·aircraft.


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   ·1· ·comparison of the two detailed specs in order to
   ·2· ·ascertain what exactly was being asked for; correct?
   ·3· · · · A.· No, I said to see what had changed.
   ·4· · · · Q.· To see what had changed, exactly.
   ·5· · · · · · Okay.· So I've taken the liberty here of
   ·6· ·opening up the preliminary detailed specification to
   ·7· ·section 3.8.2, which concerns the main landing gear.
   ·8· · · · · · And here is from tab 29 in your binders,
   ·9· ·which is dash nine, which you testified earlier is
   10· ·the detailed specification that applied to the
   11· ·mishap helicopter.
   12· · · · · · And -- so can you look at the language
   13· ·of -- I'll do it just one-by-one.
   14· · · · · · Starting with 3.8.2.1, can you tell me
   15· ·whether any changes were made in between the
   16· ·preliminary spec and the dash nine revision?
   17· · · · A.· (Comparing documents.)
   18· · · · · · 3.8.2.1 --
   19· · · · Q.· Right.
   20· · · · A.· -- appear to be the same in the dash three
   21· ·specification and the dash nine specification.
   22· · · · Q.· All right.· And when you say "dash three
   23· ·specification," that's the preliminary
   24· ·specification?
   25· · · · A.· The dash three was -- I have a copy of the


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   ·1· ·preliminary, but it was a signed-out specification.
   ·2· ·I don't know if I have one signed, but there is one
   ·3· ·signed.
   ·4· · · · Q.· Okay.· Putting aside the issue of the
   ·5· ·signature, when you say "dash three," that's
   ·6· ·actually the preliminary.· And then dash 3-9 would
   ·7· ·be the -- how one would read the revision that
   ·8· ·applied to our helicopter?
   ·9· · · · A.· Correct.
   10· · · · · · Dash three was a preliminary -- I misspoke,
   11· ·I'm sorry.· The dash three specification was
   12· ·preliminary.· I don't know if it was signed or not.
   13· · · · · · But the 3-1, which was also in use at the
   14· ·same time, was in fact signed out.
   15· · · · · · The changes between the 552-3 and the
   16· ·552-3-9, the wording in 3.8.2.1 is -- appears to be
   17· ·identical.
   18· · · · Q.· Okay.· So moving on to 3.8.2.5.· Can you
   19· ·compare the language of those -- in those two
   20· ·specifications?
   21· · · · A.· "Retracting, extending and locking," it
   22· ·says "applicable."
   23· · · · · · "Retracting, extending and locking" it says
   24· ·"applicable."
   25· · · · · · They appear to be the same.


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   ·1· · · · Q.· Just that one word, "applicable"; correct?
   ·2· · · · A.· "Applicable, applicable."
   ·3· · · · Q.· And then the next provision, 3.8.2.5.1.
   ·4· · · · A.· Yes.
   ·5· · · · Q.· Are those the same language?
   ·6· · · · A.· They are.
   ·7· · · · Q.· And is it just the single word "applicable"
   ·8· ·in both versions?
   ·9· · · · A.· Correct.
   10· · · · Q.· Okay.· And then on the -- the next sub
   11· ·provision is 3.8.2.5.2.
   12· · · · · · Are you able to compare the language
   13· ·between the preliminary detailed specification and
   14· ·the dash nine revision specification?
   15· · · · A.· (Comparing documents.)
   16· · · · · · 3.8.2.5.2, just that one?
   17· · · · Q.· Uh-huh.
   18· · · · A.· And in that one the words appear to be
   19· ·identical.
   20· · · · Q.· Okay.· And then the next one down ending in
   21· ·point three, are -- is that the same between both
   22· ·versions in front of you?
   23· · · · A.· It is.
   24· · · · Q.· And just the single word "applicable"?
   25· · · · A.· Correct.


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   ·1· · · · Q.· And then the next line ending in point four
   ·2· ·titled "alighting gear switches," do both versions
   ·3· ·contain just the single word "applicable"?
   ·4· · · · A.· Yes.
   ·5· · · · Q.· Meaning there were no changes --
   ·6· · · · A.· There were no changes.
   ·7· · · · Q.· -- to that?
   ·8· · · · · · And then going down to 3.8.4 with the title
   ·9· ·"Auxiliary Landing Gear Nose Wheel."
   10· · · · A.· Uh-huh.
   11· · · · Q.· Then the point one subsection contains a
   12· ·description.· Can you compare those two descriptions
   13· ·and tell me whether there were any changes.
   14· · · · A.· (Comparing documents.)
   15· · · · · · 3.8.4.1 are the same in both of the two
   16· ·specifications.
   17· · · · Q.· Okay.· And then going down to the -- to
   18· ·3.8.4.5, can you compare the language between those
   19· ·two?
   20· · · · A.· And 3.8.4.5 appear to be identical.
   21· · · · Q.· Okay.· So "retracting and sending and
   22· ·locking system" is followed by just the single word
   23· ·"applicable" in both versions; correct?
   24· · · · A.· Correct.
   25· · · · Q.· Okay.· So in other words, no changes were


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   ·1· ·made to the language of the detailed specification
   ·2· ·with respect to any of those features from -- in
   ·3· ·between the preparation of the preliminary detailed
   ·4· ·specification and the active detailed specification
   ·5· ·that applied to the mishap aircraft; correct?
   ·6· · · · A.· In the paragraphs we read, that is correct.
   ·7· · · · Q.· Okay.· Now, I'm going to turn your
   ·8· ·attention to that same series of provisions in the
   ·9· ·dash ten specification.
   10· · · · · · And can you just look at 3.8.2.1 and tell
   11· ·me whether any changes were made.
   12· · · · · · MR. HUNT:· Excuse me.· What are you asking?
   13· ·Dash ten to what?
   14· · · · · · MR. SHEPARDSON:· Well, we've already
   15· ·established that the preliminary and the dash nine
   16· ·revision are the same.· So now I'm asking him to
   17· ·compare --
   18· · · · · · MR. HUNT:· Dash ten?
   19· · · · · · MR. SHEPARDSON:· -- that language to the
   20· ·dash ten.
   21· · · · · · THE WITNESS:· 3.8.1, okay.
   22· ·BY MR. SHEPARDSON:
   23· · · · Q.· I think 3.8 point ... yeah, yup.
   24· · · · A.· Point one?
   25· · · · Q.· Right.


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   ·1· ·preliminary detailed specification with the dash
   ·2· ·nine revision.· Can you compare 3.8.1 and ascertain
   ·3· ·whether they are the same or different?
   ·4· · · · A.· (Comparing documents.)
   ·5· · · · · · 3.8.1 in the SD552-3 specification and
   ·6· ·3.8.1 in the SD552-3-9 specification appear to be
   ·7· ·identical.
   ·8· · · · Q.· Okay.· So now comparing that language to
   ·9· ·the language in 3.8.1 of the dash ten revision --
   10· · · · A.· Uh-huh.
   11· · · · Q.· -- glancing at that, can you tell whether
   12· ·it's the same or different?
   13· · · · A.· (Comparing documents.)
   14· · · · · · Okay.· The identical paragraph does
   15· ·appear to be different, but they also appear to be
   16· ·different in the subject material.
   17· · · · Q.· I'm sorry, I didn't --
   18· · · · A.· The Alighting Gear, 3.8.1 --
   19· · · · Q.· Right.
   20· · · · A.· -- says in the dash three specification --
   21· · · · Q.· Uh-huh.
   22· · · · A.· -- "shall" -- says -- talks about
   23· ·retractable dual landing gears.
   24· · · · Q.· Right.
   25· · · · A.· Paragraphs -- which there is no particular


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   ·1· · · · Q.· I'm not asking you to speculate, I'm just
   ·2· ·saying whether you know based on your experience.
   ·3· · · · A.· Then the person that wrote it would know,
   ·4· ·not me.
   ·5· · · · Q.· Okay.
   ·6· · · · · · So now working our way back to Appendix B
   ·7· ·of your report, page twelve, you say that:
   ·8· · · · · · "The U.S. Navy makes its own decision
   ·9· · · · · · on who will design, develop, test and
   10· · · · · · install anything on the helicopter.
   11· · · · · · Any change done by anyone other than
   12· · · · · · the U.S. Navy must have a contract to
   13· · · · · · do so."
   14· · · · · · Okay.· You say that the U.S. Navy makes
   15· ·its own decision on who will design anything on the
   16· ·helicopter.· Do you know whom the U.S. Navy choose
   17· ·to design the landing gear wiring harness of the
   18· ·CH-53 Echo helicopter?
   19· · · · A.· The CH-53E main landing gear was directed
   20· ·by the Navy to be identical to the CH-53E -- RH-53D
   21· ·main landing gear, which I have documented in
   22· ·multiple -- under item -- under 14.
   23· · · · · · And so they gave us the RH-53D landing gear
   24· ·consistent with the utilization of a common item and
   25· ·achieved their goal of commonality by use of every


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   ·1· ·system including the main landing gear.
   ·2· · · · Q.· Okay.· And when you say "us," you mean
   ·3· ·Sikorsky?
   ·4· · · · A.· Sikorsky.· I apologize, yes.
   ·5· · · · Q.· So -- now, you just made reference to your
   ·6· ·references under section 14 --
   ·7· · · · A.· Correct.
   ·8· · · · Q.· -- correct?
   ·9· · · · · · And you say that those concern the RH-53
   10· ·Delta?
   11· · · · A.· Correct.
   12· · · · · · And the CH-53 Echo.
   13· · · · Q.· Okay.· So do you know whom the Navy chose
   14· ·to design the landing gear wiring harness of the
   15· ·RH-53 Delta?
   16· · · · A.· I have no recollection.· I was not even in
   17· ·the program at that time.
   18· · · · · · However, they did have it and they told us
   19· ·to use it.
   20· · · · Q.· Okay.
   21· · · · · · Okay.· So turning to Exhibit C --
   22· · · · · · Actually, I'm sorry, turning back to your
   23· ·executive summary.
   24· · · · A.· Uh-huh.
   25· · · · Q.· Number three in that executive summary


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   ·1· · · · Q.· Does one come to mind other than the
   ·2· ·landing gear?
   ·3· · · · A.· The utility hydraulic system controls
   ·4· ·exactly what it says.· It controls the ramp.· It
   ·5· ·controls the landing gear.· It controls the ... I
   ·6· ·used to have them all down here ... it powers half
   ·7· ·of one of the other systems.· It powers ...
   ·8· · · · · · Yeah, I can't remember the -- I think
   ·9· ·there's five systems it takes care of.· I would have
   10· ·to look them up to be sure.
   11· · · · Q.· Does it exert any powering function over
   12· ·any of the engine?
   13· · · · A.· Engine start.
   14· · · · Q.· Engine start?
   15· · · · A.· Uh-huh.
   16· · · · Q.· Okay.· Do you know whether the 53 Echo has
   17· ·the same number or different number of engines than
   18· ·the 53 Delta?
   19· · · · A.· The 53 Echo has three engines; Delta has
   20· ·two engines.
   21· · · · Q.· Okay.· So would the utility hydraulic
   22· ·module necessarily have to have changed its
   23· ·configuration in order to provide an engine start
   24· ·function to that third additional engine?
   25· · · · A.· It's -- I don't know that for sure, but if


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